 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   1 of
                                                  Page   3535
                                                       1 of




                    FOR PUBLICATION

     UNITED STATES COURT OF APPEALS
          FOR THE NINTH CIRCUIT

  GERALD ROSS PIZZUTO, Jr.,                   No. 24-2275
                                               D.C. No.
               Plaintiff - Appellee,
                                            1:21-cv-00359-
                                                 BLW
    v.
                                              ORDER AND
  JOSH TEWALT, Director, Idaho
                                               AMENDED
  Department of Correction, in his
                                                OPINION
  official capacity; RANDY VALLEY,
  Warden, Idaho Maximum Security
  Institution, in his official capacity,

               Defendants - Appellants.

         Appeal from the United States District Court
                   for the District of Idaho
          B. Lynn Winmill, District Judge, Presiding
          Argued and Submitted September 25, 2024
                  San Francisco, California
                     Filed March 21, 2025
                    Amended May 14, 2025

  Before: Ronald M. Gould, Johnnie B. Rawlinson, and Mark
                 J. Bennett, Circuit Judges.

                            Order;
                   Opinion by Judge Bennett
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   2 of
                                                  Page   3535
                                                       2 of


  2                       PIZZUTO V. TEWALT


                            SUMMARY *


  Discovery / 42 U.S.C. § 1983 / Collateral Order Doctrine

      In this interlocutory appeal, the panel affirmed the
  district court’s order granting Idaho death-row inmate
  Gerald Ross Pizzuto’s request for discovery about where
  Idaho’s execution protocol drugs originated, how the drugs
  were manufactured, and when Idaho obtained the drugs.
      Pizzuto filed a complaint under 42 U.S.C § 1983 against
  the director of Idaho’s Department of Corrections and the
  warden of the Idaho Maximum Security Institution alleging
  that his execution would constitute cruel and unusual
  punishment in violation of the Eighth Amendment.
      The panel held that it had jurisdiction to review the
  district court’s interlocutory discovery order because the
  order fell into the narrow class of cases satisfying the
  collateral order doctrine. First, unlike other discovery
  orders, later review may not cure the possible harms caused
  by the disclosures in the district court’s order. Second, the
  State has an interest in protecting the identity of its execution
  drug manufacturer. Third, unlike attorney-client privilege
  and similar discovery disclosures, protection of an execution
  drug manufacturer’s identity is rarely invoked. Finally, no
  justice is afforded to the parties by not reaching the merits of
  Defendants’ challenge to the district court’s order.
      The panel held that the district court did not abuse its
  discretion in ordering Defendants’ responses. The district

  *
   This summary constitutes no part of the opinion of the court. It has
  been prepared by court staff for the convenience of the reader.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   3 of
                                                  Page   3535
                                                       3 of


                        PIZZUTO V. TEWALT                      3


  court did not abuse its discretion in finding that Pizzuto’s
  requests for admission were relevant. Idaho’s secrecy
  statute did not create an evidentiary privilege that binds
  federal courts in federal question cases, and the panel was
  not persuaded to declare a new federal evidentiary privilege
  in the identity of a state’s execution drug supplier. Applying
  a “reasonable degree of certainty” standard, the district court
  did not abuse its discretion in ordering the disclosures. The
  district court’s opinion was well reasoned in articulating why
  it ordered the disclosures. Idaho did not show, to the
  requisite degree, how its strong interest in enforcing its
  criminal laws, including its death penalty law, would be
  inappropriately harmed or burdened by allowing the
  challenged discovery.



                           COUNSEL

  Jonah J. Horwitz (argued), Assistant Federal Public
  Defender, Capital Habeas Unit; Christopher M. Sanchez,
  Assistant Federal Public Defender; Federal Defenders of
  Idaho, Boise, Idaho; Stanley J. Panikowski III, DLA Piper
  LLP US, San Diego, California; Sarah Kalman, DLA Piper
  LLP US, Philadelphia, Pennsylvania; for Plaintiff-Appellee.
  Kristina M. Schindele (argued), Deputy Attorney General;
  Karin Magnelli, Lead Deputy Attorney General; Idaho
  Department of Correction; Raul Labrador, Idaho Attorney
  General; Office of the Idaho Attorney General, Boise, Idaho;
  Michael J. Elia, Special Deputy Attorney General; Tanner
  Smith; Moore Elia & Kraft LLP, Boise, Idaho; for
  Defendants-Appellants.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   4 of
                                                  Page   3535
                                                       4 of


  4                    PIZZUTO V. TEWALT


                            ORDER

      The opinion filed on March 21, 2025, is amended as
  follows:

         On page twenty-six of the opinion, after the
         sentence <“Relevant information for
         purposes of discovery is information
         ‘reasonably calculated to lead to the
         discovery of admissible evidence.’”> add a
         footnote that reads <We quote from an
         opinion published before 2015 that relied on
         Federal Rule of Civil Procedure 26(b)(1). In
         2015, the phrase “reasonably calculated to
         lead to discovery of admissible evidence”
         was removed from Rule 26(b)(1). Although
         we quote an opinion that references the prior
         iteration of the rule, the 2015 change does not
         affect our understanding of the relevance or
         proportionality of Plaintiff’s requests. See
         Helena Agri-Enterprises, LLC v. Great Lakes
         Grain, LLC, 988 F.3d 260, 273 (6th Cir.
         2021) (describing the 2015 changes as
         “ensur[ing] that the parties and courts share
         the collective responsibility to consider the
         proportionality of all discovery” (internal
         quotation marks omitted)). As explained
         below, information about the quality and
         efficacy of the execution materials is relevant
         to Pizzuto’s claims. See Fed. R. Civ. Pro.
         26(b)(1) (“Parties may obtain discovery
         regarding any nonprivileged matter that is
         relevant to any party's claim or defense and
         proportional to the needs of the case . . . .”).
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   5 of
                                                  Page   3535
                                                       5 of


                        PIZZUTO V. TEWALT                     5


         And as discussed below, Defendants failed to
         show how Plaintiff’s discovery requests here
         imposed an undue burden.>.

      An amended version of the opinion, reflecting these
  changes, accompanies this order. With this amendment, the
  panel unanimously votes to deny the appellant’s petition for
  panel rehearing and rehearing en banc. [Dkt. 27] The full
  court has been advised of the petition for rehearing en banc,
  and no active judge has requested a vote on whether to rehear
  the matter en banc. Fed. R. App. P. 40. The petition for panel
  rehearing and rehearing en banc is therefore DENIED. No
  further petitions for panel or en banc rehearing shall be
  permitted.
      IT IS SO ORDERED.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   6 of
                                                  Page   3535
                                                       6 of


  6                      PIZZUTO V. TEWALT


                            OPINION

  BENNETT, Circuit Judge:

      Gerald Ross Pizzuto, Jr., a death-row inmate in Idaho,
  filed suit alleging that his execution by lethal injection would
  violate the Eighth Amendment’s prohibition against cruel
  and unusual punishment. After the Idaho Department of
  Correction (“Idaho”) obtained execution protocol drugs for
  use in the execution of another death-row inmate, Plaintiff
  sought certain discovery about where these drugs originated,
  how these drugs were manufactured, and when Idaho
  obtained these drugs. Idaho refused to respond, claiming
  that disclosure would impose an undue burden by revealing
  the identity of the State’s execution drug supplier, thus
  imperiling its execution protocol. The district court found
  that the information was relevant, that it was not protected
  by privilege, and that its disclosure did not unduly burden
  the State. Idaho filed an interlocutory appeal of the district
  court’s discovery order. We have jurisdiction under the
  collateral order doctrine, and we affirm.
                        BACKGROUND
      Plaintiff Gerald Ross Pizzuto, Jr. is an Idaho death-row
  inmate. On November 16, 2021, he filed an amended
  complaint under 42 U.S.C. § 1983 against Defendants Josh
  Tewalt, the director of Idaho’s Department of Correction,
  and Tim Richardson, the warden of the Idaho Maximum
  Security Institution, in their official capacities
  (“Defendants” or the “State”). Plaintiff asserted a single
  claim: that his execution would constitute cruel and unusual
  punishment, in violation of the Eighth Amendment to the
  United States Constitution, because his medical conditions
  and Idaho’s lethal injection practices unconstitutionally
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   7 of
                                                  Page   3535
                                                       7 of


                           PIZZUTO V. TEWALT                            7


  increased the risk of pain and suffering during his execution.
  Plaintiff alleged that Idaho relied on unreliable drug sources
  for earlier executions, and use of unreliably sourced drugs
  could lead to “a substantial risk of serious harm in an
  execution.” 1 Plaintiff alleged that his medical conditions,
  including his chronic heart problems and gabapentin
  prescription, created “a substantial risk of serious harm” by
  “the use of pentobarbital at his execution.”
      In March 2022, the Idaho Legislature passed House Bill
  No. 658, modifying state statutes related to state execution
  participants and state execution drug suppliers. 2022 Idaho
  Sess. Laws 590–94. Under the amended law, “the identities”
  of any “entity who compounds, synthesizes, tests, sells,
  supplies, manufactures, stores, transports, procures,
  dispenses, or prescribes the chemicals or substances for use
  in an execution” “shall be confidential, shall not be subject
  to disclosure, and shall not be admissible as evidence or
  discoverable in any proceeding before any court.” Idaho
  Code § 19-2716A(4).
      In December 2021, Defendants answered Plaintiff’s
  amended complaint, and Plaintiff served discovery on the
  State. Plaintiff served three sets of discovery on the State by
  January 2023. The first set consisted of document
  production requests, physical space inspection requests,

  1
    Plaintiff alleged that the use of improperly compounded drugs could
  create “risks that the [drug] particle becomes contaminated or lodged in
  small blood vessels or in a prisoner’s lungs, which would be extremely
  painful.” He alleged that unreliably sourced drugs could “become
  contaminated with fungi, bacteria, and other contaminants” that “would
  elicit an inflammatory reaction and c[ould] result in shock” or produce
  “immediate anaphylaxis.” Plaintiff alleged that “[t]hese various
  problems with [improperly sourced] compounded drugs create a
  substantial risk of serious pain.”
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   8 of
                                                  Page   3535
                                                       8 of


  8                     PIZZUTO V. TEWALT


  interrogatories, and requests for admission. Exhibit 30,
  Pizzuto v. Tewalt, No. 21-cv-00359 (D. Idaho Nov. 22,
  2022), ECF No. 54-31. The second set consisted of
  interrogatories. Exhibit 1, Pizzuto v. Tewalt, No. 21-cv-
  00359 (D. Idaho Apr. 13, 2023), ECF No. 82-2. The third
  set consisted of interrogatories. Exhibit 3, Pizzuto v. Tewalt,
  No. 21-cv-00359, (D. Idaho Apr. 13, 2023), ECF No. 82-4;
  Exhibit 5, Pizzuto v. Tewalt, No. 21-cv-00359 (D. Idaho Apr.
  13, 2023), ECF No. 82-6; Exhibit 7, Pizzuto v. Tewalt, No.
  21-cv-00359 (D. Idaho Apr. 13, 2023), ECF No. 82-8.
      The State refused to answer six of Plaintiff’s
  interrogatories and two of Plaintiff’s requests for admission.
  The State refused to answer Plaintiff’s Interrogatory 3 from
  his first set of interrogatories which asked “[i]f
  manufactured, what companies are involved in the[]
  manufacture [of the execution chemicals]?” The State
  responded, citing Idaho’s execution secrecy statute:

         Defendants Tewalt and Richardson object to
         this interrogatory pursuant to Idaho Code §
         19-2716A, which prohibits the disclosure of
         “[a]ny person or entity who compounds,
         synthesizes,     tests,   sells,    supplies,
         manufactures, stores, transports, procures,
         dispenses, or prescribes the chemicals or
         substances for use in an execution . . . .”
         Further, Defendants cannot answer this
         interrogatory as the Department does not
         currently have any execution chemical in its
         possession.

  Second Mot. To Compel Disc. at 5, Pizzuto v. Tewalt, No.
  21-cv-00359 (D. Idaho Apr. 13, 2023), ECF No. 82-1
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                               192 Filed 28.1, Page
                                         05/14/25   9 of
                                                  Page   3535
                                                       9 of


                        PIZZUTO V. TEWALT                      9


  (alterations in original). The State provided the same
  response to: Interrogatory 4, which asked “[i]f compounded,
  what is the compounding pharmacy” for the drugs;
  Interrogatory 7, which asked Defendants to “[d]escribe how
  the drugs were chosen for Mr. Pizzuto’s execution”; and
  Interrogatory 8, which asked Defendants to “[d]escribe how
  the source of the drugs was chosen for Mr. Pizzuto’s
  execution, i.e., the compounder or manufacturer.” Id. The
  State responded similarly to Interrogatory 15, which asked
  for a description of “every step [Defendants] have taken
  from August 23, 2022 to the present to locate a source of
  chemicals for Mr. Pizzuto’s execution,” and Interrogatory
  19, which asked the State to describe the circumstances
  under which a member of the medical execution team had
  left the medical team. Id. at 5–6.
      The State also objected on the same basis to Plaintiff’s
  Request for Admission 54 that the State “[a]dmit that [it] will
  make inquiries to determine the manufacturer of the [Active
  Pharmaceutical Ingredients] for the Execution Drugs” and
  Plaintiff’s Request for Admission 89 that the State “[a]dmit
  that [it] will identify to [Plaintiff’s] counsel the person or
  persons providing the ‘technical assistance’ and performing
  the ‘technical review’ described on page 25 of [Standard
  Operating Procedure] 135.” Id. at 7. The State similarly
  objected to Plaintiff’s Request for Production 16 for all
  emails received or sent “regarding the choice of, search for,
  acquisition of, transportation of, and/or maintenance of
  execution chemicals.” Exhibit 7, Pizzuto, ECF No. 82-8.
  Plaintiff moved to compel.
      In a July 2023 order, the district court found that
  “Idaho’s secrecy statute does not create an evidentiary
  privilege that binds federal courts in federal question cases”
  and was not persuaded to declare “a new, coextensive federal
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   10 10
                                                  Page of of3535

   10                    PIZZUTO V. TEWALT


   privilege in the identities of states’ execution-drug
   suppliers.” But, recognizing Idaho’s interest in enforcing its
   criminal laws, including the death penalty, the district court
   evaluated whether Plaintiff’s discovery requests constituted
   an undue burden on Defendants under Federal Rule of Civil
   Procedure 26(c). The district court found it would place an
   undue burden on Defendants to produce “any information
   that would, to a reasonable degree of certainty, identify any
   person or entity involved in preparing for, supplying drugs
   for, or administering the death penalty in Idaho.”
       Applying this standard, the district court ordered
   Defendants to comply with certain of Plaintiff’s discovery
   requests. The district court denied as irrelevant Plaintiff’s
   motion to compel a response to Interrogatory 15 about every
   step the State took to identify a source of execution drugs.
   The district court found Defendants would be unduly
   burdened if required “to identify their execution-drug
   supplier” and denied Plaintiff’s motion to compel responses
   to Interrogatories 3 and 4. Similarly, the district court denied
   Plaintiff’s motion to compel responses to Interrogatories 7
   and 8 and Request for Production 16 to the extent it sought
   any answer “that would identify the State’s execution team
   members or drug suppliers to a reasonable degree of
   certainty,” but the district court granted Plaintiff’s motion to
   compel to the extent it would not so identify them. The
   district court ordered Defendants to respond within twenty-
   one days to Plaintiff’s Interrogatory 19 about why a member
   of the medical team had left. The district court denied
   Plaintiff’s motion to compel a response to Request for
   Admission 89 that sought “to compel Defendants to identify
   the person who will provide technical assistance.”
      According to Plaintiff, the State “[e]ven after being
   ordered to provide additional information,” continued to
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   11 11
                                                  Page of of3535

                            PIZZUTO V. TEWALT                           11


   offer “vague statements” and withheld “rudimentary details,
   like whether the drugs being sought [we]re compounded or
   manufactured.” Mot. for Leave to Serve Additional
   Interrogs. at 3, Pizzuto v. Tewalt, No. 21-cv-00359 (D. Idaho
   Sept. 1, 2023), ECF No. 91-1. According to Plaintiff, the
   State “also declined to tell Mr. Pizzuto what information [it]
   will give him about the actual drugs they obtain for his
   execution, despite the Court’s directive.” Id. Plaintiff did
   not file another motion to compel related to these
   interrogatories.
       In late 2023, an Idaho state court issued a death warrant
   for Thomas Creech, another inmate on death row. The State
   informed Creech that it had “secured the chemicals
   necessary to carry out an execution by lethal injection” under
   Idaho’s execution protocol. When it issued his death
   warrant, the State informed Creech that it intended to use
   pentobarbital as part of his lethal injection protocol and had
   already acquired the pentobarbital. Plaintiff served requests
   for admission about the source of the pentobarbital that the
   State had obtained for Creech’s execution. 2 Plaintiff
   requested that the State, among other things:

           (1) “Admit or deny that the Execution Drugs
               were manufactured by Akorn,” a defunct
               pharmaceutical company;




   2
     Creech’s execution was set for February 28, 2024. The execution was
   halted after the execution team failed eight times to set an intravenous
   line to administer the lethal injection drugs. The State issued another
   death warrant for November 13, 2024, but on November 6, 2024, a
   federal district court issued a stay of execution.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   12 12
                                                  Page of of3535

   12                   PIZZUTO V. TEWALT


          (2) “Admit or deny that [Idaho] identified a
              source of Execution Drugs prior to
              October 10, 2023”;
          (3) “Admit or deny that [Idaho] obtained
              Execution Drugs prior to October 10,
              2023”;
          (4) “Admit or deny that [Idaho] would
              potentially use the Execution Chemicals
              currently in its possession to execute Mr.
              Pizzuto”;
          (5) “Admit or deny that the Execution
              Chemicals currently in [Idaho’s]
              possession are compounded”;
          (6) “Admit or deny that the Execution Drugs
              were made in America” or “outside of
              America”;
          (7) “Admit or deny that the Execution Drugs
              came from a veterinary source” or “a
              hospital”; and
          (8) “Admit or deny that the Execution Drugs
              were sold by a wholesaler/distributor” or
              “pharmacy.”

   Exhibit A, Pizzuto v. Tewalt, No. 21-cv-00359 (D. Idaho
   Feb. 14, 2024), ECF No. 115-2; Exhibit A, Pizzuto v. Tewalt,
   No. 21-cv-00359 (D. Idaho Feb. 2, 2024), ECF No. 109-2;
   Exhibit 7, Pizzuto v. Tewalt, No. 21-cv-00359 (D. Idaho Feb.
   15, 2023), ECF No. 102-8.
       Plaintiff also requested that the State supplement its
   earlier discovery responses. The State had previously
   answered Plaintiff’s interrogatories and requests for
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   13 13
                                                  Page of of3535

                         PIZZUTO V. TEWALT                   13


   production but had not yet obtained the pentobarbital or had
   not acknowledged it had obtained pentobarbital. Plaintiff
   requested supplemental information about the acquired
   execution chemicals including “[a]ll documents generated or
   obtained in connection with [Idaho’s] acquisition,
   transportation, and storage of execution chemicals,
   including but not limited to receipts, purchase orders,
   expiration dates, and so forth,” and “[a]ll documents
   obtained from the source of [the State]’s execution
   chemicals.”
       Defendants answered the second, fourth, and fifth
   admission requests listed above, but refused to answer the
   others, objecting similarly to each, because each:

          [C]reates an undue burden on the [State] and
          interferes with the agency’s duty to carry out
          a lawfully imposed death sentence. The Idaho
          Legislature enacted Idaho Code § 19-2716A
          to prohibit the disclosure of the identities of
          any person or entity who compounds,
          synthesizes,      tests,     sells,    supplies,
          manufactures, stores, transports, procures,
          dispenses, or prescribes the chemicals or
          substances for use in an execution.
          Defendant[s] . . . object[] to disclosure of any
          information that could lead to the
          identification of the person or entity from
          whom [the State] acquired execution
          chemicals. Defendant[s] . . . assert[]
          disclosure of the requested information could
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   14 14
                                                  Page of of3535

   14                     PIZZUTO V. TEWALT


          lead to the identity of the source of execution
          chemicals.

   The State produced a purchase order and a United States
   Drug Enforcement Agency registration form for the
   pentobarbital but redacted the purchase date on the purchase
   order. The State also provided a “Certificate of Analysis”
   that contained results of chemical testing performed on the
   drug but redacted the report date of the analysis. The State
   began to produce documents responsive to Plaintiff’s
   requests for production and stated that it would
   “supplement” its responses “as appropriate.” Plaintiff
   moved to compel Defendants’ responses to these requests for
   admission and production.
       In March 2024, the district court granted in part and
   denied in part the motions to compel. The district court
   found that the requested information was relevant. The
   district court reiterated its earlier standard for whether the
   requests constituted an undue burden finding that
   Defendants could withhold “information that would, to a
   reasonable degree of certainty, identify a person or entity
   involved in preparing for, supplying drugs for, or
   administering the death penalty in Idaho” and thus
   undermine the State’s ability to “enforce its criminal laws.”
       Applying this standard, the district court found that
   Defendants “offer[ed] only bare speculation that the
   purchase date could be used in conjunction with ‘other
   records’ to trace the execution drugs to a particular supplier.”
   The district court found that the State failed “to go further
   and explain, in concrete terms, how [its] answers to these
   particular questions” about whether the execution drug
   manufacturer was domestic or foreign “may actually lead to
   the identification of [its] supplier.” Similarly, the district
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   15 15
                                                  Page of of3535

                          PIZZUTO V. TEWALT                     15


   court found that the State “offered no evidence or analysis to
   support [its] speculation” that information about the type of
   drug manufacturer, such as whether it was a veterinary or
   hospital source, would lead to the identification of the
   manufacturer. The district court refused to reject Plaintiff’s
   discovery requests “based on some unquantified risk that
   Defendants’ answers could theoretically lead to the
   identification of the drug supplier.” And the district court
   found that Defendants did not explain how their supplier
   could be identified if the report date on the Certificate of
   Analysis or whether Akorn was the manufacturer were
   disclosed.
       All told, while the district court reasoned that the State’s
   claim that the requested information “would increase the risk
   that [Idaho’s] supplier will be identified” was “true as a
   general matter,” “Defendants fail[ed] to go further and
   explain, in concrete terms, how their answers to these
   particular questions may actually lead to the identification of
   their supplier.” The district court concluded that answering
   Plaintiff’s requests for admission identified above and
   producing a Certificate of Analysis with an unredacted
   report date would not unduly burden Defendants. The
   district court ordered that Defendants respond to Plaintiff’s
   requests for admission, save for the dates by which the State
   identified its execution drugs, which Defendants had
   adequately provided.
       On April 10, 2024, Defendants filed a timely notice of
   interlocutory appeal of the district court’s March 2024 order.
   Defendants did not file an appeal of the district court’s July
   2023 order.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   16 16
                                                  Page of of3535

   16                     PIZZUTO V. TEWALT


                    STANDARD OF REVIEW
        “We have jurisdiction to determine whether we have
   jurisdiction to hear the case.” Aguilar v. Walgreen Co., 47
   F.4th 1115, 1120 (9th Cir. 2022) (quoting Childs v. San
   Diego Fam. Hous. LLC, 22 F.4th 1092, 1095 (9th Cir.
   2022)). We review questions of our jurisdiction de novo. Id.
   (citing Hunt v. Imperial Merch. Servs., Inc., 560 F.3d 1137,
   1140 (9th Cir. 2009)). We review a district court’s discovery
   rulings for abuse of discretion. U.S. Fid. & Guar. Co. v. Lee
   Invs. LLC, 641 F.3d 1126, 1136 n.10 (9th Cir. 2011).
                           DISCUSSION
     A. We have jurisdiction under the collateral order
        doctrine.
       Courts of appeals “have jurisdiction of appeals from all
   final decisions of the district courts of the United States, . . .
   except where a direct review may be had in the Supreme
   Court.” 28 U.S.C. § 1291. “A ‘final decision’ is typically
   one ‘by which a district court disassociates itself from a
   case.’” Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106
   (2009) (brackets omitted) (quoting Swint v. Chambers Cnty.
   Comm’n, 514 U.S. 35, 42 (1995)).
        In limited circumstances appeals may be taken before a
   final decision is made. This class of cases includes orders
   certified by a district court for immediate appeal, see 28
   U.S.C. § 1292(b), or decisions that “do not end the
   litigation” but “are appropriately deemed ‘final.’” Mohawk
   Indus., 558 U.S. at 106 (quoting Cohen v. Beneficial Indus.
   Loan Corp., 337 U.S. 541, 545–46 (1949)).                 We
   accommodate review of this latter subset of decisions as
   “final” under the collateral order doctrine. See Digit. Equip.
   Corp. v. Desktop Direct, Inc., 511 U.S. 863, 867 (1994)
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   17 17
                                                  Page of of3535

                         PIZZUTO V. TEWALT                     17


   (noting “[t]he collateral order doctrine is best understood not
   as an exception to the ‘final decision’ rule laid down by
   Congress in § 1291, but as a ‘practical construction’ of it”
   (quoting Cohen, 337 U.S. at 546)). This category of cases is
   narrow because “[p]ermitting piecemeal, prejudgment
   appeals . . . undermines ‘efficient judicial administration’
   and encroaches upon the prerogatives of district court
   judges, who play a ‘special role’ in managing ongoing
   litigation.” Mohawk Indus., 558 U.S. at 106 (quoting
   Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 374
   (1981)).
       “To fall within the narrow class of orders satisfying the
   Supreme Court’s collateral order doctrine, an order must
   (1) ‘conclusively determine the disputed question,’
   (2) ‘resolve an important issue completely separate from the
   merits of the action,’ and (3) ‘be effectively unreviewable on
   appeal from a final judgment.’” Childs, 22 F.4th at 1095
   (quoting Will v. Hallock, 546 U.S. 345, 349 (2006)). The
   Supreme Court has summarized these considerations as
   (1) “conclusiveness,” (2) “separateness,” and (3) “effective
   unreviewability.” Mohawk Indus., 558 U.S. at 108.
       The district court’s March 2024 ruling on Plaintiff’s
   motion to compel discovery did not end the litigation on the
   merits, and the district court did not certify its order for
   interlocutory review under 28 U.S.C. § 1292(b). But
   because the district court’s discovery order falls into the
   narrow class of cases satisfying the collateral order doctrine,
   we have jurisdiction.
       The parties agree that the order conclusively determined
   the disputed question. And the parties do not dispute that
   this issue is completely separate from the merits. But the
   parties dispute the importance of this question and whether
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   18 18
                                                  Page of of3535

   18                    PIZZUTO V. TEWALT


   this question would “be effectively unreviewable on appeal
   from a final judgment” because a lack of review “would
   imperil a substantial public interest.” Will, 546 U.S. at 349,
   353.
        Lack of review “imperil[s] a substantial public interest,”
   id., “only where the order at issue involves ‘an asserted right
   the legal and practical value of which would be destroyed if
   it were not vindicated before trial,’” Midland Asphalt Corp.
   v. United States, 489 U.S. 794, 799 (1989) (quoting United
   States v. MacDonald, 435 U.S. 850, 860 (1978)). To resolve
   whether an order imperils a substantial public interest, the
   Supreme Court has instructed us to look to “the entire
   category to which a claim belongs” rather than
   individualized claims of jurisdiction. Digit. Equip. Corp.,
   511 U.S. at 868. “As long as the class of claims, taken as a
   whole, can be adequately vindicated by other means, ‘the
   chance that the litigation at hand might be speeded, or a
   particular injustic[e] averted,’ does not provide a basis for
   jurisdiction under § 1291.” Mohawk Indus., 558 U.S. at 107
   (alteration in original) (quoting Digit. Equip. Corp., 511 U.S.
   at 868).
       Defendants seek review of the district court’s March
   2024 discovery order. In general, the Supreme Court has
   instructed that the collateral order doctrine does not apply to
   discovery orders. See Firestone Tire, 449 U.S. at 377 (“[W]e
   have generally denied review of pretrial discovery orders.”);
   Mohawk Indus., 558 U.S. at 108. We have jurisdiction here,
   however, because the context and the disclosures in the
   district court’s order are distinct from the ordinary class of
   discovery orders.
       First, unlike other discovery orders, later review may not
   cure the possible harms caused by the disclosures in the
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   19 19
                                                  Page of of3535

                         PIZZUTO V. TEWALT                     19


   district court’s order. The Supreme Court has instructed that
   “[t]he crucial question” in evaluating the public interest at
   stake “is not whether an interest is important in the abstract;
   it is whether deferring review until final judgment so
   imperils the interest as to justify the cost of allowing
   immediate appeal of the entire class of relevant orders.”
   Mohawk Indus., 558 U.S. at 108. “[T]he finality requirement
   should ‘be construed so as not to cause crucial collateral
   claims to be lost and potentially irreparable injuries to be
   suffered.’” Firestone Tire, 449 U.S. at 376 (quoting
   Mathews v. Eldridge, 424 U.S. 319, 331 n.11 (1976)).
      Significant to our determination is that there is a
   possibility that Defendants’ important interests would be
   “imperil[ed]” without review. Mohawk Indus., 558 U.S. at
   108. The State’s interest in keeping the identity of its
   execution drug supplier a secret is substantial. If the State’s
   execution drug supplier were identified, the State’s
   execution drug protocol would be imperiled. The State is
   concerned that information about its execution drug supplier,
   once released, is available forever and could be used together
   with other information to reveal the identity of its execution
   drug supplier.
       Defendants argue that disclosure of the requested
   information will allow Plaintiff and anti-death penalty
   advocates to identify and target the manufacturer of Idaho’s
   execution drugs. If Defendants are correct, then the order is
   effectively unreviewable on appeal from a final judgment.
   The manufacturer would be identified, and Idaho’s
   execution protocol would be imperiled. See Glossip v.
   Gross, 576 U.S. 863, 869–71 (2015) (describing efforts by
   anti-death penalty advocates to lobby drug manufacturers
   and suppliers to make execution drugs unavailable). Even if
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   20 20
                                                  Page of of3535

   20                       PIZZUTO V. TEWALT


   we later determined that the information Plaintiff requested
   was not relevant or useful, we could not cure this harm.
       The parties agree that requiring outright disclosure of the
   drug manufacturer would be effectively unreviewable on
   appeal. Oral Arg. at 16:24–16:47, 19:02–21:47. And the
   parties likely would not dispute that the disclosure of
   information completely unrelated to the source of the
   execution drugs would be reviewable on appeal because this
   information could not be used to identify the drug
   manufacturer. Plaintiff’s discovery requests fall somewhere
   in between these examples.
       The district court’s order compelled disclosure of the
   following information: the “purchase date” of the execution
   drugs, the dates Idaho obtained the execution drugs, whether
   the drugs “were made ‘in America’” or were “imported,”
   “whether the drugs came from a ‘veterinary source’ or a
   hospital,” “whether the drugs were sold by a
   ‘wholesaler/distributor’ or a pharmacy,” “the ‘Report Date’
   on the Certificate of Analysis,” and whether the drugs “were
   manufactured by Akorn, a now-bankrupt pharmaceutical
   company.” Taken together with other publicly available
   information, it is possible that Plaintiff or anti-death penalty
   advocates might identify the manufacturer of Idaho’s
   execution drugs. 3
       When the collateral order doctrine does not apply, the
   Supreme Court has found that post-merits remedies can cure
   a prior error, even in common discovery contexts. See, e.g.,
   Mohawk Indus., 558 U.S. at 109 (“Appellate courts can


   3
    As we discuss below, “might” or “could” be able to identify is not the
   merits standard by which we judge if the district court abused its
   discretion in ordering discovery.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   21 21
                                                  Page of of3535

                          PIZZUTO V. TEWALT                     21


   remedy the improper disclosure of privileged material in the
   same way they remedy a host of other erroneous evidentiary
   rulings: by vacating an adverse judgment and remanding for
   a new trial in which the protected material and its fruits are
   excluded from evidence.”); see also SolarCity Corp. v. Salt
   River Project Agric. Improvement & Power Dist., 859 F.3d
   720, 725–27 (9th Cir. 2017) (finding state-action immunity
   is immunity from liability, not suit, and “can be protected by
   a post-judgment appeal”); R.W. v. Columbia Basin Coll., 77
   F.4th 1214, 1224 (9th Cir. 2023) (holding party substitution
   under Federal Rule of Civil Procedure 25 was reviewable
   upon entry of a final judgment by replacing the named
   party).
       But unlike other types of discovery disclosures, the
   possible consequences of the district court’s order cannot
   “be adequately vindicated by other means.” SolarCity
   Corp., 859 F.3d at 724 (quoting Mohawk Indus., 558 U.S. at
   107). If the identity of the State’s execution drug supplier or
   information leading to the supplier’s identity were revealed,
   there is no way to undo that disclosure. Unlike the disclosure
   of privileged information, there would be no way to “redo”
   the disclosures without revealing the State’s execution drug
   supplier. And, on review, any argument that the discovery
   requests had unduly burdened the State would be moot
   because that information would already have been revealed.
   See generally Campbell-Ewald Co. v. Gomez, 577 U.S. 153,
   160–61 (2016) (discussing the non-justiciability of review
   when intervening circumstances make it impossible to grant
   relief).
       Second, the State has an interest in protecting the identity
   of its execution drug manufacturer. In our prior cases
   applying the collateral order doctrine to motions to seal or
   unseal information, we have looked to the interests asserted
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   22 22
                                                  Page of of3535

   22                     PIZZUTO V. TEWALT


   in keeping the information secret. In Islamic Shura Council
   of Southern California v. FBI, 635 F.3d 1160 (9th Cir. 2011),
   we found a ruling that unsealed an order containing sensitive
   national security and law enforcement information was
   effectively unreviewable on appeal because “once the order
   is unsealed, any government appeal of the issue after
   judgment would be moot. When an order is unsealed, the
   unsealing cannot be reversed.” Id. at 1164. On the other
   hand, in United States v. Guerrero, 693 F.3d 990 (9th Cir.
   2012), we found that orders to unseal mental competency
   proceedings for public access were not immediately
   appealable because “concerns raised by public access to a
   criminal defendant’s competency proceedings” were not
   “comparable” to “national security” or other dire interests.
   Id. at 998.
         As the district court correctly recognized, Idaho’s
   interest in protecting the identity of its drug manufacturer is
   significant. See Nelson v. Campbell, 541 U.S. 637, 644
   (2004) (“[A] constitutional challenge seeking to
   permanently enjoin the use of lethal injection may amount to
   a challenge to the fact of the sentence itself . . . . [A] State
   retains a significant interest in meting out a sentence of death
   in a timely fashion.”); Towery v. Brewer, 672 F.3d 650, 661
   (9th Cir. 2012) (per curiam) (“We also recognize that the
   State ordinarily has ‘a strong interest in enforcing its
   judgments without undue interference from federal courts
   . . . .’”); Landrigan v. Brewer, 625 F.3d 1132, 1143 (9th Cir.
   2010) (Kozinski, C.J., dissenting from denial of rehearing en
   banc) (“Certainly [the state] has a legitimate interest in
   avoiding a public attack on its private drug manufacturing
   sources . . . .”); Calderon v. Thompson, 523 U.S. 538, 556
   (1998) (“Our federal system recognizes the independent
   power of a State to articulate societal norms through criminal
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   23 23
                                                  Page of of3535

                             PIZZUTO V. TEWALT                            23


   law; but the power of a State to pass laws means little if the
   State cannot enforce them.” (quoting McCleskey v. Zant, 499
   U.S. 467, 491 (1991))); Glossip, 576 U.S. at 869 (noting the
   Supreme Court has never invalidated a procedure for
   carrying out the death penalty as infliction of cruel and
   unusual punishment, “animated in part by the recognition
   that because it is settled that capital punishment is
   constitutional, ‘[i]t necessarily follows that there must be a
   [constitutional] means of carrying it out.’” (alterations in
   original) (quoting Baze v. Rees, 553 U.S. 35, 47 (2008)
   (plurality opinion))).
       Plaintiff asserts there is a countervailing public interest
   in learning about executions “so that citizens ‘can determine
   whether lethal injections are fairly and humanely
   administered.’” But we have held that the identity of the
   manufacturer of execution drugs differs from other public
   rights to access executions and “that the public does not have
   a right of access to th[at] information.” First Amend. Coal.
   of Ariz., Inc. v. Ryan, 938 F.3d 1069, 1078 (9th Cir. 2019).
       Third, unlike the attorney-client privilege and similar
   discovery privileges, protection of an execution drug
   manufacturer’s identity is rarely invoked. 4 Collateral review
   of these types of orders, therefore, does not implicate
   significant “institutional costs,” Mohawk Indus., 558 U.S. at
   112, or “swallow the general rule that a party is entitled to a
   single appeal, to be deferred until final judgment has been
   entered, in which claims of district court error at any stage

   4
     At the end of 2023, there were 728 death penalty cases pending in
   federal district courts and state supreme courts within the Ninth Circuit.
   U.S. CTS. FOR THE NINTH CIR., 2023 ANNUAL REPORT 62 (2023). And
   within this small class of cases, we have seen few discovery orders that
   risk divulging the identity of the supplier of a state’s execution drugs.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   24 24
                                                  Page of of3535

   24                    PIZZUTO V. TEWALT


   of the litigation may be ventilated,” Digit. Equip. Corp., 511
   U.S. at 868 (citation omitted).
       Finally, no justice is afforded the parties by not reaching
   the merits of Defendants’ challenge to the district court’s
   order. To assess our jurisdiction, we must already grapple
   with the possibility of the disclosure of Idaho’s execution
   drug supplier due to the district court’s order—the basis for
   Defendants’ challenge to the discovery order. The collateral
   order doctrine is driven by the value of judicial economy,
   which we do not serve by declining to accommodate review.
   And as we have seen, these types of discovery orders will
   continue to arise in this and other Idaho cases and possibly
   elsewhere. It would not benefit anyone for us to simply
   decline to address these issues now.
       Because it is cabined to this context, our decision will
   not “overpower the substantial finality interests § 1291 is
   meant to further: judicial efficiency, for example, and the
   ‘sensible policy of avoid[ing] the obstruction to just claims
   that would come from permitting the harassment and cost of
   a succession of separate appeals from the various rulings to
   which a litigation may give rise.’” Will, 546 U.S. at 350
   (alteration in original) (internal quotations omitted) (quoting
   Firestone Tire, 449 U.S. at 374). Accordingly, we have
   jurisdiction to review the district court’s discovery order.
     B. The district court did not abuse its discretion in
        ordering Defendants’ responses.
       We review discovery orders for abuse of discretion. See
   Branch v. Umphenour, 936 F.3d 994, 1005 (9th Cir. 2019).
   “A district court ‘has wide latitude in controlling discovery,
   and its rulings will not be overturned in [the] absence of a
   clear abuse of discretion.’” Lane v. Dep’t of the Interior, 523
   F.3d 1128, 1134 (9th Cir. 2008) (quoting White v. City of
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   25 25
                                                  Page of of3535

                            PIZZUTO V. TEWALT                           25


   San Diego, 605 F.2d 455, 461 (9th Cir. 1979)). “A court
   abuses its discretion when it applies an incorrect legal rule
   or relies upon a factual finding that is illogical, implausible,
   or without support in inference that may be drawn from the
   record.” Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053,
   1060 (9th Cir. 2014) (quoting Valle del Sol Inc. v. Whiting,
   732 F.3d 1006, 1014 (9th Cir. 2013)).
       Defendants argue that the “district court did not consider
   other factors required by Federal Rule of Civil Procedure
   26—including relevance, timeliness, good cause, utility, or
   materiality.” Regarding relevance, Defendants did not argue
   below that the dates on which Defendants acquired the drugs
   were irrelevant. Thus, Defendants have waived these
   relevance objections. 5 See Fed. R. Civ. P. 36(a)(5) (“The
   grounds for objecting to a request must be stated.”);
   Richmark Corp. v. Timber Falling Consultants, 959 F.2d
   1468, 1473 (9th Cir. 1992) (“It is well established that a
   failure to object to discovery requests within the time
   required constitutes a waiver of any objection.”).
       For the other requested information, the district court
   found that the geographic origin of the drugs, the type of
   drug supplier, and whether Akorn was the drug supplier were
   all relevant. “District courts have broad discretion in
   determining relevancy for discovery purposes.” Surfvivor
   Media, Inc. v. Survivor Prods., 406 F.3d 625, 635 (9th Cir.

   5
     Even were these objections not waived, we would easily conclude that
   under the broad discovery standards, the date information that Plaintiff
   seeks is reasonably calculated to lead to the discovery of admissible
   evidence. Plaintiff alleged that improperly stored or old pentobarbital
   degrades the chemical and increases the risks associated with lethal
   injection. The dates that the State obtained its execution drugs are
   relevant to both the efficacy and the safety of the State’s execution
   protocol.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   26 26
                                                  Page of of3535

   26                        PIZZUTO V. TEWALT


   2005). “Relevant information for purposes of discovery is
   information ‘reasonably calculated to lead to the discovery
   of admissible evidence.’” 6 Id. (quoting Brown Bag Software
   v. Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992)).
   This standard is a “low bar.” Sandoval v. County of San
   Diego, 985 F.3d 657, 666 (9th Cir. 2021).
       The district court did not abuse its discretion in finding
   that Plaintiff’s requests for admission were relevant.
   Plaintiff alleges that “[t]he use of pentobarbital at [his]
   execution creates a substantial risk of serious pain and
   suffering” in violation of the Eighth Amendment. The date
   that the drugs were obtained, 7 the geographic origin of the



   6
     We quote from an opinion published before 2015 that relied on Federal
   Rule of Civil Procedure 26(b)(1). In 2015, the phrase “reasonably
   calculated to lead to discovery of admissible evidence” was removed
   from Rule 26(b)(1). Although we quote an opinion that references the
   prior iteration of the rule, the 2015 change does not affect our
   understanding of the relevance or proportionality of Plaintiff’s requests.
   See Helena Agri-Enterprises, LLC v. Great Lakes Grain, LLC, 988 F.3d
   260, 273 (6th Cir. 2021) (describing the 2015 changes as “ensur[ing] that
   the parties and courts share the collective responsibility to consider the
   proportionality of all discovery” (internal quotation marks omitted)). As
   explained below, information about the quality and efficacy of the
   execution materials is relevant to Pizzuto’s claims. See Fed. R. Civ. Pro.
   26(b)(1) (“Parties may obtain discovery regarding any nonprivileged
   matter that is relevant to any party's claim or defense and proportional to
   the needs of the case . . . .”). And as discussed below, Defendants failed
   to show how Plaintiff’s discovery requests here imposed an undue
   burden.
   7
     Plaintiff alleged that old or improperly stored pentobarbital increases
   the risks associated with lethal injection. When the State obtained the
   drugs is relevant to whether Plaintiff would experience unconstitutional
   risk of pain or suffering in his execution.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   27 27
                                                  Page of of3535

                             PIZZUTO V. TEWALT                             27


   drugs, 8 and the type of company formulating the drugs 9 are
   relevant because these factors may bear on the reliability of
   the drugs.
       In its July 2023 order, the district court found that
   Idaho’s secrecy statute did not create a federal evidentiary
   privilege, and it did not find that any other federal
   evidentiary privilege applied to Idaho’s secrecy statute.
   Defendants do not directly challenge the district court’s
   evidentiary privilege ruling, but in responding below and on
   appeal, they rely on Idaho’s secrecy statute in refusing to
   respond to Plaintiff’s requests for admission. They argue
   that “the text of [Idaho’s secrecy] statute is important to the
   application of the undue burden standard set forth in Federal
   Rule of Civil Procedure 26” and that suppliers rely on this
   statute in deciding to transact with Idaho, making it
   “imperative” to “accord some deference to that reliance.”



   8
     Plaintiff alleged that sterile and technical manufacturing protocols must
   be implemented to avoid chemical degradation or contamination.
   Absent these standards, Plaintiff alleged he faces an increased risk of
   pain or suffering in his execution. Whether the State’s drugs were made
   by manufacturers in countries with robust chemical manufacturing
   standards or monitoring by the United States Food and Drug
   Administration (“FDA”) is relevant.
   9
     Plaintiff alleged that drugs manufactured by compounding pharmacies
   are not subject to the FDA’s safety and efficacy standards. He alleged
   that drugs made by compounding pharmacies are generally not tested for
   “identity, potency, and purity, or to detect contamination.” He alleged
   that “[a]ny one of these problems increases the danger that a
   compounded drug would not work as it is intended to and would
   therefore lead to a substantial risk of serious harm in an execution.”
   Whether the State’s drugs were made by a compounding pharmacy is
   relevant to whether Plaintiff would experience unconstitutional pain or
   suffering in his execution.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   28 28
                                                  Page of of3535

   28                    PIZZUTO V. TEWALT


       We agree with the district court that “Idaho’s secrecy
   statute does not create an evidentiary privilege that binds
   federal courts in federal question cases.” And we are not
   persuaded to declare a new federal evidentiary privilege in
   the identity of a state’s execution drug supplier. See Jaffee
   v. Redmond, 518 U.S. 1, 8 (1996) (“Rule 501 of the Federal
   Rules of Evidence authorizes federal courts to define new
   privileges by interpreting ‘common law principles . . . in the
   light of reason and experience.’” (alteration in original)); id.
   at 13 (discussing how a “consensus among the States”
   supports recognition of a new federal evidentiary privilege);
   Trammel v. United States, 445 U.S. 40, 51 (1980)
   (explaining that a new testimonial privilege must “promote[]
   sufficiently important interests to outweigh the need for
   probative evidence”). As the district court correctly noted,
   to find states have such a privilege would invite states to
   “dodge federal judicial review by broadly exempting
   themselves from the discovery process.”
       Other circuit courts have similarly declined to find that
   federal protections or privileges completely shield all
   information about an execution drug manufacturer from
   discovery. See Jordan v. Comm’r, Miss. Dep’t of Corr., 947
   F.3d 1322, 1336–38 (11th Cir. 2020) (declining to extend
   federal trade secret protections or “other protected matter”
   protections to disclosure of the identity of maker of
   pentobarbital, even in the presence of a state secrecy statute);
   In re Ohio Execution Protocol Litig., 845 F.3d 231, 239 (6th
   Cir. 2016) (declining to “federalize the Ohio secrecy law as
   a common-law privilege for immunity”) .
       But even though the information is not “privileged,” as
   the district court recognized, requests for information like
   these about or related to execution drug suppliers and
   execution drugs may impose undue and/or improper burdens
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   29 29
                                                  Page of of3535

                             PIZZUTO V. TEWALT                             29


   on a state. See First Amend. Coal., 938 F.3d at 1079–80
   (noting the right of public access to execution information
   did not extend to all minute details of an execution). Other
   circuit courts have similarly held that requiring the
   disclosure of the identity of the manufacturer of execution
   drugs would impose undue burdens on the state. See Jordan,
   947 F.3d at 1342; In re: Mo. Dep’t of Corr., 839 F.3d 732,
   736 (8th Cir. 2016) (per curiam); In re Ohio, 845 F.3d at
   238–39; Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 192 (4th
   Cir. 2019) (affirming a district court’s finding that disclosure
   of a manufacturer’s identity would unduly burden the state).
   We therefore assess whether the district court abused its
   discretion in determining that Plaintiff’s requested
   admissions and providing an unredacted Certificate of
   Analysis would not impose undue burdens on Defendants.
       The district court found that disclosure constituted an
   undue burden when the requested information “would, to a
   reasonable degree of certainty, identify a person or entity
   involved in preparing for, supplying drugs for, or
   administering the death penalty in Idaho” (emphasis added).
   Defendants challenge this standard as failing to appreciate
   the harms caused by disclosure and permitting disclosure of
   “ancillary” information that has led to the exposure of
   execution drug manufacturers in other states. 10 Defendants
   argue that the district court should have instead not required
   disclosure when the information “could possibly” identify
   the supplier, as articulated by the U.S. District Court for the

   10
     At oral argument, Defendants stated they do not challenge the district
   court’s standard but challenged the district court’s request for concrete
   examples of how the information would lead to identifying the source of
   the execution drugs. Oral Arg. at 1:16–3:05. This conflicts with their
   briefing which identifies an alternative standard, and their argument still
   challenges the district court’s standard.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   30 30
                                                  Page of of3535

   30                      PIZZUTO V. TEWALT


   Northern District of Georgia in Martin v. Ward, No. 18-cv-
   4617, 2021 WL 1186749 (N.D. Ga. Mar. 30, 2021).
       Plaintiff asserts that the appropriateness of the district
   court’s “reasonable degree of certainty” test is “outside the
   scope” of this appeal because the district court made and
   applied the test in its July 2023 discovery order. We
   disagree. “An interlocutory appeal . . . is moot when a court
   can no longer grant any effective relief sought in the . . .
   request.” Akina v. Hawaii, 835 F.3d 1003, 1010 (9th Cir.
   2016) (per curiam). The appropriateness of the district
   court’s “reasonable degree of certainty” test is moot for the
   disclosures and admissions that Defendants have already
   made. See Richmark Corp., 959 F.2d at 1479 (“Compliance
   with a discovery order renders moot an appeal of that
   order.”). But this issue is not moot for any of Defendants’
   obligations to supplement their responses under the July
   2023 order or for information requested under the instant
   order.
       The district court did not abuse its discretion in using its
   “reasonable degree of certainty” test. The district court
   correctly articulated and applied the standard for a protective
   order under Federal Rule of Civil Procedure 26(c). See
   Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir.
   2010).
        First, the district court did not err in finding:

            [T]he State of Idaho and its officials have a
            strong interest in enforcing the State’s
            criminal laws, including its death penalty
            laws. And second, that interest will be
            harmed if Defendants are forced to disclose
            the identity of their execution-drug supplier,
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   31 31
                                                  Page of of3535

                          PIZZUTO V. TEWALT                      31


           because doing so will presumably make it
           more difficult—or impossible—to obtain
           execution drugs in the future.

   As a matter of law, the district court was correct. These
   strong interests of Idaho and other states in enforcing their
   criminal laws, including the death penalty, must be given
   appropriate consideration by district courts reviewing
   execution drug-related discovery requests. But in this
   dispute, like in other similar discovery disputes, it is the
   evaluation of the need for the requested information and the
   effect of granting the requested discovery that determines
   whether a state’s strong interests are inappropriately harmed.
       The district court also did not err in finding that Plaintiff
   has an interest in obtaining information about the drugs that
   may be used in his execution. We agree with the district
   court that although the State has a strong interest in
   protecting the identity of its drug supplier, “that does not
   mean Defendants can conceal all information remotely
   related to their selection of drugs and drug suppliers.” And
   the district court did not abuse its discretion in fashioning its
   test to balance the State’s interest against the “marginal
   relevance” of the drug supplier’s identity to Pizzuto’s
   claims. See Rivera v. NIBCO, Inc., 364 F.3d 1057, 1063–64
   (9th Cir. 2004) (“If a court finds particularized harm will
   result from disclosure of information to the public, then it
   balances the public and private interests to decide whether a
   protective order is necessary.” (quoting Phillips v. Gen.
   Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002))).
       We hold that disclosure of information that would
   reasonably lead to the identification of the State’s execution
   drug supplier unduly burdens the State. Other circuits have
   similarly held that the outright disclosure of the identity of a
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   32 32
                                                  Page of of3535

   32                    PIZZUTO V. TEWALT


   state’s execution drug supplier or information that “would
   jeopardize a state’s ability to implement its death penalty
   laws” imposed an undue burden. Jordan, 947 F.3d at 1340;
   see, e.g., In re: Mo. Dep’t of Corr., 839 F.3d at 735–37
   (finding a “speculative” concern that a supplier would be
   identified would not constitute an undue burden while
   disclosure of the supplier’s identity would); In re Ohio, 845
   F.3d at 239 (noting that if the requested information were
   disclosed Ohio “will suffer an undue burden and prejudice”
   (emphasis added)); Va. Dep’t of Corr., 921 F.3d at 186, 192
   (finding disclosure of documents that “would reveal the
   identity of Virginia’s” execution drug supplier imposed an
   undue burden (emphasis added)). In contrast to the State’s
   proposed standard, no other circuit courts have found
   requested information that speculatively or merely could
   lead to the identification of a state’s drug supplier would
   impose an undue burden on the state.
       Applying the “reasonable degree of certainty” standard,
   the district court did not abuse its discretion in ordering the
   disclosures. The district court’s opinion was well reasoned
   in articulating why it ordered the disclosures: Defendants
   failed to explain, “in concrete terms, how their answers to
   the[] particular questions may actually lead to the
   identification of their supplier” (emphasis added). The
   district court in its July 2023 ruling declined to order the
   State to identify the manufacturer of its execution drugs
   because that information would, without speculation,
   identify the drug supplier. In its March 2024 ruling, the
   district court correctly found that Defendants’ “arguments
   [were] speculative and conclusory” and that the State had not
   “provided any basis for [its] conclusion” that its drug
   supplier would be identified.
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   33 33
                                                  Page of of3535

                         PIZZUTO V. TEWALT                    33


       Defendants again argue on appeal that disclosure of the
   requested information could lead to disclosure of the
   supplier but again fail to explain why this information would
   lead to the supplier’s identity or what information would be
   combined with these disclosures to do so. We can only
   speculate how Plaintiff’s requested admissions would
   identify the State’s drug supplier. The State has provided no
   concrete examples of when identification occurred
   previously based on information like the information
   Plaintiff requested here and has failed to articulate why this
   information, in particular, would lead to identifying the
   State’s supplier. We are forced to imagine what information,
   already available, would be combined with Plaintiff’s
   requested admissions to identify the supplier of the State’s
   drugs. At oral argument, Defendants asserted that each
   disclosure could “link back” to the supplier and that other
   sources of information, like Freedom of Information Act
   requests could form a “mosaic” to reveal the source from
   otherwise “innocuous” disclosures, but this again fails to
   detail how these disclosures would lead to the drug supplier.
   Oral Arg. at 5:32–9:52; see also Oral Arg. at 12:18–16:16.
   Like the district court, we are “left with very little
   information about the likelihood that answering these
   [requests for admission] would result in the identification of
   the drug supplier.”
       We recognize that disclosure of any information about
   the execution drug supplier might increase the possibility
   that it is identified. But given the State’s arguments and
   responses here, that risk is purely speculative for the
   disclosures ordered by the district court. Without additional
   information from Defendants about how or why this
   information would lead to the identity of this supplier, we
   are left, like the district court, only to speculate. This
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   34 34
                                                  Page of of3535

   34                    PIZZUTO V. TEWALT


   speculation is insufficient to support a finding that the
   district court abused its discretion in concluding that the
   disclosures do not unduly burden Defendants. See Premium
   Serv. Corp. v. Sperry & Hutchinson Co., 511 F.2d 225, 229
   (9th Cir. 1975) (“Such abuses must be unusual and
   exceptional; we will not merely substitute our judgment for
   that of the trial judge. A judge abuses his discretion only
   when his decision is based on an erroneous conclusion of
   law or where the record contains no evidence on which he
   rationally could have based that decision.” (citation
   omitted)).
       Defendants argue that requiring them to demonstrate
   how these disclosures would reveal their supplier’s identity
   erroneously “shift[s] the burden of persuasion to
   Defendants” when Plaintiff should bear the burden of
   establishing why the information should be produced. But
   Plaintiff has shown that the information is relevant. Thus, it
   is Defendants’ burden to demonstrate why the disclosures
   would constitute an undue burden. See Rivera, 364 F.3d at
   1063–64 (“The burden is upon the party seeking” to limit
   discovery “to ‘show good cause’ by demonstrating harm or
   prejudice that will result from the discovery.” (quoting
   Phillips, 307 F.3d at 1210–11)). As the district court put it,
   “Pizzuto need not prove a negative by showing that
   Defendants’ answers will not lead to the identification of
   their supplier. Rather, Defendants must show good cause for
   shielding them from Pizzuto’s discovery requests.”
       Next, Defendants misunderstand the district court’s
   request. The district court found that Defendants failed to
   present a chain of events or a set of information that, when
   combined with the ordered disclosures, would identify
   Idaho’s execution drug supplier. The district court requested
   that Defendants provide a way for someone to identify the
 Case:
Case     24-2275, 05/14/2025,
     1:21-cv-00359-BLW DocumentDktEntry:
                                192 Filed28.1, Page
                                         05/14/25   35 35
                                                  Page of of3535

                         PIZZUTO V. TEWALT                    35


   drug supplier from the disclosed information to challenge
   this conclusion. Defendants failed to do so. Without this
   showing, it was not an abuse of discretion for the district
   court to conclude that the requested disclosures did not
   unduly burden Defendants.
       We must set out the limits of our holding. Again, we
   start with this correct determination by the district court:

          [T]he State of Idaho and its officials have a
          strong interest in enforcing the State’s
          criminal laws, including its death penalty
          laws. And . . . that interest will be harmed if
          Defendants are forced to disclose the identity
          of their execution-drug supplier, because
          doing so will presumably make it more
          difficult—or       impossible—to         obtain
          execution drugs in the future.

   This strong interest of the State must be considered by every
   district court in dealing with execution drug discovery,
   including execution drug manufacturer/supplier discovery.
       And we are not holding that those who face execution
   are always entitled to the challenged discovery Plaintiff
   sought here. We are holding that here, Idaho did not show
   why the discovery should not be had; that is, that Idaho did
   not show, to the requisite degree, how its strong interest in
   enforcing its criminal laws, including its death penalty laws,
   would be inappropriately harmed or burdened by allowing
   the challenged discovery.
      AFFIRMED.
